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 6                          UNITED STATES DISTRICT COURT
 7                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,         )                   D.C. No. CR 05-671-WHA
                                       )                   (San Francisco)
10                    Plaintiff,       )
                                       )
11         vs.                         )
                                       )                   [PROPOSED] ORDER
12   JOSE FRANCISCO LEYVA,             )
                                       )
13                    Defendant.       )
     _________________________________ )                   Judge: Hon. William H. Alsup
14
15          For Good Cause Shown and for the reasons stated herein:
16          1. The hearing set for January 31, 2006 shall be continued to February 7,
17   2006 at 2:00 p.m.
18          2. The February 6, 2006 trial date is hereby vacated.
19          3. The Court finds that the ends of justice to be served by continuing the
20   hearing now set for January 31, 2006 to February 7, 2006, outweigh the best interest
21   of the public and the defendant in a speedy trial. 18 U.S.C. §3161(h)(8)(A).
22   Accordingly, and with the consent of the defendant, the Court hereby orders that the
23   Speedy Trial clock shall be tolled for the reasons stated above until February 7, 2006,
24   pursuant to the Speedy Trial Act, 18 U.S.C. §3161 (h)(8)(B)(iv).
25   IT IS SO ORDERED.                                         S DISTRICT
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27   DATED: January 30, 2006                        IT
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                                               WILLIAM H. ALSUP
28                                             United States District
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